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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


 United States of America,                            No. 24-cv-2944 (KMM/JFD)

               Plaintiff,

 v.                                                    BRIEFING ORDER
                                                   ON MOTION TO WITHDRAW
 Evergreen Recovery Inc.,                                AS COUNSEL
 Evergreen Mental Health Services Inc.,
 Ethos Recovery Clinic Inc.,
 Second Chances Recovery Housing Inc.,
 Second Chances Sober Living, Inc.,
 David Backus,
 Shawn Grygo, and
 Shantel Magadanz,

               Defendants.


       Attorney Manda Sertich, lead counsel for Ms. Grygo and the Evergreen-entity

defendants (the “Represented Parties”), has moved to withdraw, pursuant to Local Rule

83.7(c), citing “good cause” based on financial concerns about her clients’ ability to pay

for her representation and due to the preliminary stage of this litigation. See ECF 48 (Mot.

to Withdraw). This Court has substantial discretion in determining whether to allow

counsel to withdraw. See Steward v. Sims, No. 21-1565, 2022 WL 16489, at *1 (8th Cir.

Jan. 3, 2022) (per curiam) (citing Fleming v. Harris, 39 F.3d 905, 908 (8th Cir. 1994)). As

here, when no attorney will remain to represent their clients and no counsel will substitute

for them, attorneys who wish to withdraw from a case must file a motion seeking leave to

withdraw, demonstrate “good cause” for the request, and provide their clients notice of the

motion. D. Minn. LR 83.7(c). Whether there is “good cause” for counsel’s withdrawal
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“‘must be evaluated on a case-by-case basis, and determined by examining the reasons

proffered for the asserted need to withdraw.’” Stemlit Growers, LLC v. J&J Distr. Co., Civ.

No. 21-931 (MJD/BRT), 2021 WL 7286085, at *1 (D. Minn. Nov. 24, 2021) (quoting Cabo

Holdings, LLC v. Englehart, Civ. No. 07-3524 (PJS/RLE), 2008 WL 4831757, at *4 (D.

Minn. Nov. 3, 2008)).

       “The District of Minnesota has adopted the Minnesota Rules of Professional

Conduct as the standards governing lawyers who appear in its courts.” Sanford v. Maid-

Rite Corp., 816 F.3d 546, 549 (8th Cir. 2016) (citing D. Minn. LR 83.6(a)). If the

requirements of the District’s Local Rule governing withdrawal without substitution and

the Minnesota Rules of Professional Conduct are satisfied, “‘withdrawal is presumptively

appropriate.’” Sanford, 816 F.3d at 549–50 (quoting Brandon v. Blech, 560 F.3d 536, 537

(6th Cir. 2009)). “The presumption favoring withdrawal . . . should be disregarded,

however, if it would severely prejudice the client or third parties.” Id. at 550.

       Before ruling on the motion, the Court will first provide the government, the

Represented Parties, or any third party, with the opportunity to oppose or otherwise take a

position on Ms. Sertich’s motion to withdraw, including whether good cause exists for her

withdrawal or whether prejudice would result to any party.

       The Court therefore enters the following ORDER:

       1.     Any opposition to or other position on the pending motion to withdraw shall

              be filed by noon (12:00 p.m.) on August 19, 2024. Any such filing shall not

              exceed 10 pages, double spaced.
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     2.    Ms. Sertich may file a response of the same length by noon on August 21.

           Alternatively, Ms. Sertich may inform the Court via e-mail if she does not

           intend to file a reply.

     3.    Ms. Sertich remains as counsel for the Represented Parties until the Court

           rules on the pending motion. See Minn. R. Prof’l Conduct 1.16(c). She shall

           serve a copy of this Order on Ms. Grygo and Mr. Backus as quickly as

           practicable.


Date: August 14, 2024                     s/Katherine Menendez
                                          Katherine Menendez
                                          United States District Judge
